                SIXTH DISTRICT COURT OF APPEAL
                       STATE OF FLORIDA
                     _____________________________

                           Case No. 6D2023-3719
                    Lower Tribunal No. 22CF-013386AOR
                     _____________________________

                       JONATHAN SEPULVEDA SANCHEZ,

                                  Appellant,

                                      v.

                              STATE OF FLORIDA,

                                Appellee.
                     _____________________________

               Appeal from the Circuit Court for Orange County.
                        Diego M. Madrigal, III, Judge.

                               August 27, 2024


PER CURIAM.

     AFFIRMED.

STARGEL and WHITE, JJ., and LAMBERT, B.D., Associate Judge, concur.


Howard L. “Rex” Dimmig, II, Public Defender, and Robert D. Rosen, Assistant
Public Defender, Bartow, for Appellant.

No Appearance for Appellee.


 NOT FINAL UNTIL TIME EXPIRES TO FILE MOTION FOR REHEARING
             AND DISPOSITION THEREOF IF FILED
